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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO .12-60049-CR - M O ItEN O

  UNITED STATES O F AM ERICA
                                  ,

               Plaintiff,
  VS.

  ROG EW O CHAVESSCOTTON
                         ,
            Deftndant.
                                   /
             O RDER DENYING M OTION FO R PERM ISSION TO
                            IN F                        A PPEA L
                                 ORM A PAUPERIS
        THIS CAUSE camebeforetheCourtupon defendant'sm otion forperm ission to appe
                                                                                   alin
 formapauperisID.E.#697)andtheCourtbeingfully advised in thepremises
                                                                      ,   itis
        ORDERED and ADJUDGED thatsaid moti
                                         on isDENIED.
        DONE and ORDERED in M iami- Dade County Floridathis
                                                               ,   day ofM arch, 2019.




                                       FEDERI    . O NO
                                       UNIT . STATES DISTRICT JUDGE

Copiesfurnished to:

Allcounselofrecord

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